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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
GIGI JORDAN,

                                Plaintiff,

         against
                                                            CIVIL ACTION NO.: 18 Civ. 10868 (SLC)

                                                           ORAL ARGUMENT SCHEDULING ORDER
AMY LAMANNA, superintendent of Bedford Hills
Correctional Facility,

                                Defendant.

SARAH L. CAVE, United States Magistrate Judge.

         Oral argument on the Motion to Stay (ECF No. 38) and Cross-Motion for Release (ECF No.

40) will be heard on Monday, November 2, 2020 at 10:00 am via telephone.

         The parties are directed to call the Court’s conference line at 866-390-1828; access code:

380-9799, at the scheduled time.


Dated:             New York, New York
                   October 21, 2020

                                                     SO ORDERED



                                                     _________________________
                                                     SARAH L. CAVE
                                                     United States Magistrate Judge
